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 1                                                                The Honorable David G. Estudillo
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 7                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
 8                                     AT TACOMA
 9   PAUL D. ETIENNE, et al.,                              NO. 3:25-cv-05461-DGE
10                             Plaintiffs,                 DECLARATION OF KELLY A.
                                                           PARADIS IN SUPPORT OF
11          v.                                             RESPONSE OF DEFENDANTS
                                                           ROBERT W. FERGUSON AND
12   ROBERT W. FERGUSON, et al.,                           NICHOLAS W. BROWN TO
                                                           PLAINTIFFS’ MOTION FOR
13                             Defendants.                 PRELIMINARY INJUNCTION
14                                                         NOTE ON MOTION CALENDAR:
                                                           July 14, 2025 at 10:00 a.m.
15

16          I, Kelly A. Paradis, declare as follows:

17          1.      I am over the age of 18, competent to testify as to the matters herein, and make

18   this declaration based on my personal knowledge. I am one of the attorneys representing

19   Defendants Robert W. Ferguson and Nicholas W. Brown in the above-captioned matter.

20          2.      Attached as Exhibit 1 is a true and correct copy of a website from the Centers for

21   Disease Control and Prevention, titled “About Child Abuse and Neglect”, located at the

22   following link: https://www.cdc.gov/child-abuse-neglect/about/index.html#cdc_behavioral_

23   basics_quick-quick-facts-and-stats, last accessed on June 29, 2025.

24          3.      Attached as Exhibit 2 is a true and correct copy of website from the Centers for

25   Disease Control and Prevention, titled “About Child Sexual Abuse”, located at the following

26

     DECL. OF KELLY A. PARADIS                         1             ATTORNEY GENERAL OF WASHINGTON
                                                                           1125 Washington Street SE
     ISO RESP. OF DEFS. ROBERT W.                                               PO Box 40100
     FERGUSON & NICHOLAS W. BROWN                                          Olympia, WA 98504-0100
                                                                                360-753-6200
     TO PLS.’ MOT. FOR PRELIM. INJ.
     NO. 3:25-cv-05461-DGE
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 1   link:      https://www.cdc.gov/child-abuse-neglect/about/about-child-sexual-abuse.html,             last
 2   accessed on June 29, 2025.
 3             4.     Attached as Exhibit 3 is a true and correct copy of a website from the National
 4   Center for Victims of Crime, titled “Child Sexual Abuse Statistics”, located at the following link:
 5   https://victimsofcrime.org/child-sexual-abuse-statistics/, last accessed on June 29, 2025.
 6             5.     Attached as Exhibit 4 is a true and correct copy of a website from the American
 7   Society for the Positive Care of Children, titled “National Child Maltreatment Statistics”, located
 8   at the following link: https://americanspcc.org/child-maltreatment-statistics/, last accessed on
 9   June 29, 2025.
10             6.     Attached as Exhibit 5 is a true and correct copy of a website from the National
11   Children’s Alliance, titled “National Statistics on Child Abuse”, located at the following link:
12   https://www.nationalchildrensalliance.org/media-room/national-statistics-on-child-abuse/, last
13   accessed on June 29, 2025.
14             7.     Attached as Exhibit 6 is a true and correct copy of U.S. Department of Health &
15   Human Services 2023 Child Maltreatment report, located at the following link:
16   https://acf.gov/sites/default/files/documents/cb/cm2023.pdf, last accessed on June 29, 2025.
17             8.     Attached as Exhibit 7 is a true and correct copy of a printout of the Office of
18   Innovation, Alignment and Accountability Prevention Dashboard showing a count of children
19   in      CPS     intakes     by       referral   type,       located   at    the     following     link:
20   https://public.tableau.com/app/profile/dcyfoiaa/viz/OIAAPreventionDashboardV1_16/CPSRef
21   erentType, last accessed on June 29, 2025.
22             9.     Attached as Exhibit 8 is a true and correct copy of a printout of the Office of
23   Innovation, Alignment and Accountability Prevention Dashboard showing a count of children
24   in CPS intakes by referral type, filtered to show only those with a “screen in” decision, located
25   at       the    following        link:     https://public.tableau.com/app/profile/dcyfoiaa/viz/OIAA
26   PreventionDashboardV1_16/CPSReferentType, last accessed on June 29, 2025.

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         Case 3:25-cv-05461-DGE             Document 176         Filed 06/30/25         Page 3 of 4




 1            10.     Attached as Exhibit 9 is a true and correct copy of a report from the Department
 2   of Social and Health Services, Research and Data Analysis Division, titled “Child Welfare and
 3   Health      Service   Trends   in    Washington   State”,    located   at    the     following   link:
 4   https://www.dshs.wa.gov/sites/default/files/rda/reports/DCYFcovid.pdf, last accessed on June
 5   29, 2025.
 6            11.     Attached as Exhibit 10 is a true and correct copy of a news article from
 7   InvestigateWest, located at the following link: https://www.investigatewest.org/investigatewest-
 8   reports/jehovahs-witnesses-covered-up-child-sexual-abuse-in-washington-state-for-decades-
 9   lawsuit-alleges-17692697, last accessed on June 29, 2025.
10            12.     Linked in Exhibit 11 is a true and correct copy of the March 14, 2025 House
11   Early Learning & Human Services Committee hearing, available at: https://tvw.org/video/house-
12   early-learning-human-services-2025031189/?eventID=202503118
13   9, last accessed on June 29, 2025.
14            13.     Linked in Exhibit 12 is a true and correct copy of the February 5, 2025 Senate
15   Human Services Committee hearing, available at https://tvw.org/video/senate-human-services-
16   2025021111/?eventID=2025021111, last accessed on June 29, 2025.
17            14.     Attached as Exhibit 13 is a true and correct copy of a website from Prevent Child
18   Abuse America, titled “Child Abuse and Domestic Violence: Connections and Common
19   Factors”, available at the following link: https://preventchildabuse.org/latest-activity/child-
20   abuse-and-domestic-violence-connections-and-common-factors/, last accessed on June 29,
21   2025.
22            15.     Attached as Exhibit 14 is a true and correct copy of the House Bill Report for
23   SHB 1171, available at the following link: https://lawfilesext.leg.wa.gov/biennium/2025-
24   26/Pdf/Bill%20Reports/House/1171-S%20HBR%20PL%2025.pdf?q=20250630094111,                          last
25   accessed on June 30, 2025.
26

     DECL. OF KELLY A. PARADIS                         3               ATTORNEY GENERAL OF WASHINGTON
                                                                             1125 Washington Street SE
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         Case 3:25-cv-05461-DGE           Document 176        Filed 06/30/25         Page 4 of 4




 1          I declare under penalty of perjury under the laws of the State of Washington and the
 2   United States of America that the foregoing is true and correct.
 3          DATED this 30th day of June 2025 at Seattle, Washington.
 4                                                /s/ Kelly A. Paradis
                                                  KELLY A. PARADIS, WSBA #47175
 5                                                Deputy Solicitor General
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                                                                              1125 Washington Street SE
     ISO RESP. OF DEFS. ROBERT W.                                                  PO Box 40100
     FERGUSON & NICHOLAS W. BROWN                                             Olympia, WA 98504-0100
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